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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


 T.C., G.C., and JANE DOE,                           CV 17-176-M-DWM

              Plaintiffs,

       vs.                                                     ORDER

FRENCHTOWN SCHOOL DISTRICT
and RANDY CLINE, in his individual
capacity,

              Defendants.


      Before the Court is the parties' joint motion for a protective order. The

parties have not shown that their "negotiated and signed stipulation is insufficient

                                                          ,r
to protect their interests." (Scheduling Order, Doc. 18 at 12.) Accordingly,

      IT IS ORDERED that the motion (Doc. 22) is DENIED.

      DATED this    -2..:.._ day of June, 2018.

                                                     o oy, District Judge
                                        United Stat�s · strict Court
